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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

 JAY CONNOR, individually and on behalf of all
 others similarly situated,                                 Case No. 2:24-cv-00645-RMG
                 Plaintiff,
          vs.
 Wilshire Real Estate Services, LLC
                 Defendant.

                        PLAINTIFF’S BRIEF IN SUPPORT OF
                 MOTION TO DISMISS DEFENDANT’S COUNTERCLAIM

                                     INTRODUCTION
       Defendant Wilshire Real Estate Services, LLC (“Wilshire” or “Defendant”) Counterclaim

is nothing more than a contrived attempt to intimidate and bully a consumer for daring to hold it to

account for its illegal telemarketing. The most basic of details to support the fraud claim are

entirely absent, and as such the claim falls far short of alleging fraud with particularity under Rule

9(b) of the Federal Rules of Civil Procedure. It should therefore be dismissed under Rule 12(b)(6)

of the Federal Rules of Civil Procedure.

       Particularity is required to allege fraud in order to protect individuals like Mr. Connor

from the reputational harm that comes along with a public fraud allegation. The party alleging

fraud must conduct a more thorough investigation than is typically required in order to ensure the

claims have factual support. But here, Wilshire and its attorneys have either (1) lobbed this claim

at Mr. Connor without even investigating the basic information for their fraud counterclaim; or (2)

did an investigation but still don’t have the facts to state a claim for fraud, and did not plead them.

Either way, the Counterclaims do not meet the heightened pleading standard required by Rule 9.

       Mr. Connor is not alleged to have done anything procedurally or substantively improper—

all he has done is investigate who called his number on the National Do Not Call Registry and

filed a complaint for damages under the TCPA. Accordingly, its abuse of process counterclaim
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must also fail. Moreover, Wilshire’s identical fraud counterclaims must be dismissed because they

do not meet the requirements of Rule 9, let alone state a cognizable legal claim under Rules

12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure.

                                     LAW AND ARGUMENT

  I.   Wilshire’s abuse of process counterclaim fails as a matter of law.

    Defendant first attempts to cast a counterclaim for “abuse of process,” but fails to base this

claim for relief by reference to any law, regulation, case law, or statute. And, without being

tethered to the language of the common law, case, or statute, the Plaintiff is left to guess as to

where the pled entitlement to relief originates. A Rule 12(b)(6) motion for failure to state a claim

upon which relief can be granted may operate as a challenge to the legal sufficiency of a

complaint in the nature of a demurrer and must be granted if the moving party mounts a

successful challenge to “the legal sufficiency of a complaint.” Francis v. Giacomelli, 588 F.3d

186, 192 (4th Cir. 2009). To be legally sufficient, a pleading must contain a “short and plain

statement of the claim showing that the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2). It

follows that a complaint that does not plead such statements demonstrating an entitlement to

relief is properly dismissed for failure to state a cognizable legal claim.

       Therefore, as an initial matter, the Defendant has not pled an adequate entitlement to

relief to state a cognizable claim for relief under Rule 12(b)(6) because Wilshire pleads no

violation of any law. Where, as here, the pleading party has not pled any facts which would

entitle him to any relief under any legal theory plausibly suggested by the facts alleged, a

complaint is properly dismissed for legal insufficiency under Rule 12(b)(6). Harrison v. U.S.

Postal Serv., 840 F.2d 1149, 1151 (4th Cir. 1988) (holding that district court properly dismissed

complaint when no statutory provision was pled, let alone one that entitled plaintiff to relief).




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Wilshire’s failure to plead any legal or statutory violation renders the counterclaim deficient and

warrants its dismissal on face.

       As best the Plaintiff can tell, Wilshire attempts to plead an abuse of process counterclaim

under South Carolina’s state law abuse of process statute, the South Carolina Frivolous Civil

Proceedings Sanctions Act, S.C. CODE § 15-36-10, et seq. As mentioned above, even to the

extent that the Court construes the counterclaim as one under the Act, despite Wilshire pleading

it nowhere in its complaint, the counterclaim is deficient because an action for violation of the

Act must be brought in a separate proceeding after the conclusion of the case where the moving

party has prevailed. S.C. CODE § 15-36-10(C)(1); Walker-Davis v. Unique Caring Found., Inc.,

No. 9:23-CV-00156-DCN, 2023 WL 3061243, at *2 (D.S.C. Apr. 24, 2023) (dismissing abuse of

process counterclaim and holding that “[T]he [FCPSA] does not provide a standalone cause of

action, and any relief under the statute must be sought after trial.”). Thus, the “clear weight of

authority” counsels in favour of dismissing the present counterclaim “as unripe.” Id.

       And while a complaint under the FCPSA should normally be dismissed without prejudice

with leave to raise such claims at the close of the case, assuming that the statute applies and the

statutory prerequisites have been met, Id., any abuse of process counterclaim here should be

dismissed with prejudice because no amount of repleading will save the Defendant, because even

if true, the allegations in the counterclaim do not show that the Plaintiff did anything wrong. As

an initial matter, the calls placed to the Plaintiff were illegal at the moment they were sent, and

not because of anything the Plaintiff said or did on them. 47 C.F.R. § 64.1200(c) (prohibiting

“initiating” a call and not requiring a call to be answered). Even so, to the extent that the Court

reads the counterclaim as alleging that Mr. Connor played along with Wilshire in order to

identify them, that conduct is not improper and cannot stand as conduct giving rise to a




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counterclaim for abuse of process, as the Fourth Circuit has held.

       Consumers frequently play along with unsolicited telemarketing scripts like the one used

by Wilshire to identify the callers, hold them accountable, and discourage future attempts at

contact. Indeed, courts have held that the provision of false information, like a fake name, in

order to protect a called party’s privacy is part of the process of an individual seeking to

privately enforce their rights under the TCPA. Mey v. Castle L. Grp., PC, No. 5:19-CV-185,

2020 WL 5648326, at *3 (N.D. W. Va. Sept. 22, 2020). What’s more, playing pretend as an

interested “consumer” does not constitute fraud or abuse of process. To the contrary, it is the

very conduct that the TCPA encourages, as the Northern District of West Virginia stated in a

nearly identical case to here, “The basis of the fraud claim, that Mey misrepresented her interest

in the qualification process in order to trap the purported telemarketers into a lawsuit, is the type

of conduct encouraged by the TCPA.” Castle L. Grp, 2020 WL 5648326, at *3. The Fourth

Circuit agreed, labeling such counterclaims for fraud as properly dismissed as “baseless.” Mey v.

Phillips, 71 F.4th 203, 210 (4th Cir. 2023).

       A litany of other courts are in agreement. “But the telemarketers’ admissions are not

rendered invalid just because Mey (successfully) tricked them into (truthfully) revealing that they

sold products for Lifewatch.” FTC v. Lifewatch Inc., 176 F. Supp. 3d 757, 771 (N.D. Ill. 2016);

see also Shelton v. Nat’l Gas & Elec., LLC, No. 17-4063, 2019 U.S. Dist. LEXIS 59235, at *12

(E.D. Pa. Apr. 5, 2019) (“The fact that [Shelton] ‘play[s] along’ with telemarketing scripts to

‘find out who [they] really are’ is not as devious as Defendant suggests. A plaintiff must know

the name of the telemarketer that violated the TCPA in order to bring suit against it”). And, as the

Middle District of Tennessee stated:

       The statutory damages available under the TCPA are, in fact, specifically designed to
       appeal to plaintiffs’ self-interest and to direct that self-interest toward the public good:



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      like statutory compensation for whistleblowers, they operate as bounties, increasing the
      incentives for private enforcement of law. Designing a cause of action with the purpose of
      enlisting the public in a law’s enforcement scheme is a well-established tool that can be
      found in areas ranging from antitrust and civil rights law to environmental law and false
      claims. While these schemes do not eliminate the constitutional requirement of an injury-
      in-fact, neither do they impose an additional hurdle simply because the plaintiff may have
      a motive beyond mere compensation for his injury.
Cunningham v. Rapid Response Monitoring Servs., Inc., 251 F. Supp. 3d 1187, 1195–96 (2017).

       For the foregoing reasons, the abuse of process counterclaim must be dismissed with

prejudice because Wilshire has pled no facts giving it an entitlement to relief under any theory.




 II.   Wilshire failed to allege fraud with particularity as required by Fed. R. Civ. P. 9(b).
       The fraud counterclaims must therefore

       A party who alleges fraud “must state with particularity the circumstances constituting

fraud.” FED. R. CIV. P. 9(b). A party's “lack of compliance with Rule 9(b)’s pleading

requirements is treated as a failure to state a claim under Rule 12(b)(6).” Harrison v.

Westinghouse Savannah River Co., 176 F.3d 776, 783 n.5 (4th Cir. 1999). “The particularity

requirement of Rule 9(b) is designed to discourage a ‘sue first, ask questions later’ philosophy.”

Pirelli Armstrong Tire Corp. Retiree Med. Benefits Trust v. Walgreen Co., 631 F.3d 436, 441

(7th Cir. 2011) (cleaned up). “Greater precomplaint investigation is warranted in fraud cases . . .

because public charges of fraud can do great harm to the reputation of [an individual].” Luminent

Mortg. Cap., Inc. v. Merrill Lynch & Co., 652 F. Supp. 2d 576, 595 (E.D. Pa. 2009). Heightened

pleading in the fraud context requires more than pleading the mere fact of a misrepresentation

that might pass muster under Rule 8(a); Rule 9(b) requires the entity asserting fraud to conduct a

more detailed investigation and not merely rely on allegations based on information or belief. See

Exergen Corp. v. Wal-Mart Stores, Inc., 575 F.3d 1312, 1325 (Fed. Cir. 2009).

       Rule 9(b) also serves to require parties pleading fraud to make such allegations at the



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pleadings stage instead of stating that they will be revealed in discovery, particularly when the

factual information to allege fraud is solely within the possession, knowledge, and control of the

party alleging fraud. See Pirelli, 637 F.3d at 444. To comply with Rule 9(b), the party alleging

fraud must allege, with particularity, the first paragraph of any newspaper story: the who, what,

when, where, why, and how. Harrison, 176 F.3d at 784. Thus, the party alleging fraud must

allege, at minimum, the time, place, and contents of the false representations, the identity of the

person making the misrepresentation, and what he obtained thereby. Id. (emphasis added). In

Harrison, the Fourth Circuit explained the fourfold purpose of Rule 9(b): to ensure that the

defendant has enough information to formulate a defense, to protect defendants from frivolous

suits, to eliminate fraud actions subject to discovery, and to protect defendants from harm to their

goodwill and reputation. Id. (quoting United States v. Blue Cross Blue Shield of Georgia, Inc.,

755 F.Supp. 1055, 1056–57 (S.D.Ga.1990)).

       It is well established that it is plainly insufficient under Rule 9(b) to plead fraud upon

“information and belief.” DiVittorio v. Equidyne Extractive Indus., Inc., 822 F.2d 1242, 1247

(2d Cir. 1987) (citing Segal v. Gordon, 467 F.2d 602, 608 (2d Cir. 1972) for the proposition that

“Rule 9(b) pleadings cannot be based upon information and belief.”). Allegations pled on

“information and belief,” with no additional supporting allegations, as here, do not pass muster.

Bowen v. adidas Am., Inc., 416 F. Supp. 3d 574, 578 (D.S.C. 2019) (holding as insufficient

pleading on information and belief the allegation that defendant “reviewed and approved sham

invoices”); Lima One Cap. LLC v. DAC Acquisitions LLC, No. 6:19-CV-03547-DCC, 2020 WL

5816739, at *4 (D.S.C. Sept. 30, 2020) (holding as insufficient a statement pled on information

and belief that a loan originator “creat[ed] fraudulently altered documents”).

       Despite this well-settled law, the Defendant asserts two identical counterclaims for “fraud




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and misrepresentation.” They appear to be based on two sets of (murky) fact patterns that do not

demonstrate an entitlement to relief under Rule 8, let alone the heightened pleading standard pled

in Rule 9. They do not plead the contents of any alleged fraudulent statements. They do not plead

when or where they were uttered. They do not plead why or how they were uttered, let alone any

of the required elements of fraud under South Carolina law, such as the requisite intent or

damages. Rule 9(b) was designed, among other things, to prevent persons facing fraud claims

from guessing as to what they did that was allegedly fraudulent. But all Wilshire’s complaint

consists of is rank speculation as to purportedly fraudulent conduct that isn’t even fraudulent.

        In order to prove fraud, a plaintiff has the burden of proving, by clear and convincing

evidence, each of the following elements:

        (1) the defendant made a representation; (2) the representation was false; (3) the
        representation was material; (4) the defendant knew the representation was false or
        recklessly disregarded its potential falsity; (5) the defendant intended that Plaintiff act
        upon the representation; (6) Plaintiff understood the representation to be true; (7) Plaintiff
        relied on the truth of the representation; (8) Plaintiff had a right to rely on the truthfulness
        of the representation; (9) Plaintiff suffered a consequent and proximate injury as a result.
First State Sav. & Loan v. Phelps, 385 S.E.2d 821, 824 (S.C. 1989).
        As best Mr. Connor can make out, Wilshire first seems to claim that Mr. Connor’s

feigning interest with the caller in its real estate services constituted fraud. As explained above,

that’s not fraud; all the Plaintiff was doing was identifying the caller on a call that was illegal

from the moment it was placed, and not because of anything Mr. Connor said or did on the call.

And insofar as the first fraud claim contends that Mr. Connor somehow failed to mitigate his

damages, Wilshire is unable to plead the existence of a cognizable duty giving rise to a fraud

claim. See, e.g., Powell v. W. Asset Mgmt., 773 F. Supp. 2d 761, 764 (N.D. Ill. 2011) (“courts

that have considered whether a plaintiff has a duty to mitigate damages under Section 227 of the

TCPA have found there is no such duty.”) (citations omitted). For that matter, even taking its

threadbare allegations as true, Wilshire pleads no facts giving rise to any of the elements of fraud



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under South Carolina law, including, but not limited to, materiality, reliance, intent, a right to

rely on the representation, and damages. Defendant is unable to point to a single case holding

that a telemarketer had a right to rely on statements made by a called party in an illegal call that

the telemarketer itself initiated illegally. That’s because none exist, and the cases addressing a

called party’s conduct on the call have explicitly held the opposite.

        In any event, the main point remains in that there is nothing wrong with a consumer

advocate posing as an interested customer in order to enforce federal law and to discover the

identity of those responsible for contacting them. “Testers,” who pose as interested individuals in

order to identify other victims in the housing and employment context “usually are praised rather

than vilified.” Murray v. GMAC Mortg. Corp., 434 F.3d 948, 954 (7th Cir. 2006) (citing Havens

Realty Corp. v. Coleman, 455 U.S. 363, 374-75 (1982); Arlington Heights v. Metropolitan

Housing Development Corp., 429 U.S. 252 (1977)). The Federal Trade Commission, which is

charged with the enforcement of federal telemarketing laws, regularly has investigators pose as

potential customers, and courts have endorsed that approach. See, e.g., Consent Decree, United

States v. Credit Bureau Collection Services, No. 2:10-cv-169, Doc. No. 3, § X (S.D. Ohio Feb.

24, 2010) (authorizing FTC to use “lawful means,” including “posing as consumers and

suppliers” in order to investigate compliance with federal law).

        Wilshire’s second counterclaim for fraud, sounding in a purported violation of South

Carolina’s Unfair Trace Practices Act, should also be dismissed with prejudice. As an initial

matter, the allegation that the Plaintiff is allegedly “operating an enterprise . . . for the purpose of

generating TCPA claims,” without any of the purported factual details of the so-called

“enterprise,” falls far short of the factual specificity required to state a claim for fraud or

violation of the UTPA under Rule 8, let alone Rule 9. But even if the Defendant were able to




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plead the requisite acts (which it cannot, because that allegation is utterly false), the Defendant

fails on the statutory “hook” on at least three points, rendering the claims unsalvageable. First,

and as an initial matter, a UTPA claim is a statutory claim with statutory damages; it does not

sound in fraud. Second, and more importantly, UTPA does not apply to individuals like Mr.

Connor. The Act prohibits “unfair methods of competition and unfair or deceptive acts or

practices in the conduct of any trade or commerce.” S.C. CODE § 39-5-20(a). By its plain text, the

UTPA applies to the use or employment of unfair trade practices in “trade or commerce;” it does

not apply to private disputes as between private actors not affecting the public interest.

Orangeburg Pecan Co. v. Farmers Inv. Co., 869 F. Supp. 359, 360 (D.S.C. 1994); Bessinger v.

Food Lion, Inc., 305 F. Supp. 2d 574, 579 (D.S.C. 2003).

       Thirdly, and although an issue of first impression, a plaintiff seeking to enforce his

statutory rights as permitted under federal and state law is not using or employing any trade

practices, let alone in the conduct of trade or commerce. Litigation is “not trade or commerce,”

nor “any part of commerce.” See Stout v. Pratt, 12 F. Supp. 864, 867 (W.D. Mo. 1935), aff’d, 85

F.2d 172 (8th Cir. 1936) (holding that commerce is limited in definition and scope). As Court

observed in Gustafson v. Springfield, Inc., 282 A.3d 739, 750 n.15 (Pa. 2022):

       It is unfathomable how commerce — the free exchange of goods and services across state
       lines and intercourse between the parts of the nation — includes litigation — the “process
       of carrying on a lawsuit,” i.e., a “proceeding instituted for the purpose of enforcing a right
       or otherwise seeking justice.” BLACK’S LAW DICTIONARY at 1075, 1663 (10th ed. 2014)
       (quoting GARNER’S DICTIONARY OF LEGAL USAGE at 862-63 (3d ed. 2011)). Litigation is
       not commerce.

       Given Wilshire has not shown any of the elements of fraud, least among them who

committed said fraud, what was allegedly fraudulent, or how there are any damages, the

counterclaim for fraud must be dismissed. No amount of repleading will save Wilshire either,

because even assuming that the conduct alleged did occur and that all the other elements of fraud



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are satisfied, Wilshire does not plead any conduct that rises to the level of a fraudulent

representation. Instead, all it proves (if anything) is the affirmative defense of consent. Because

Wilshire’s allegations in its Counterclaim do not come anywhere near meeting the particularity

standard of Rule 9(b) and those statements it does make are insufficient to constitute fraud, its

fraud counterclaim must be dismissed under Rule 12(b)(6).

                                         CONCLUSION

       For the foregoing reasons, Wilshire’s Counterclaims should be dismissed with prejudice.

                                              PLAINTIFF,
                                              By his attorneys,

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